EXHIBIT A
                          Arbitration Hearing
                          September 09, 2024

· · · · · · · · · · ·AMERICAN ARBITRATION ASSOCIATION

· · · · · · · · INTERNATIONAL CENTRE FOR DISPUTE RESOLUTION

· · · · · · · · · · ·COMMERCIAL ARBITRATION RULES

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· · ·BOSCH AUTOMOTIVE SERVICE

· · ·SOLUTIONS, INC.,

· · · · · · · · · · ·Claimant,

· · · · · · · · vs.· · · · · · ·Case No. 01-21-0016-2306

· · · · · · · · · · · · · · · · Arbitrator Thomas W. Cranmer

· · ·COLLISION SCIENCES, INC.,

· · · · · · · · · · ·Respondent.

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· · · · · ARBITRATION HEARING

· · · · · Taken at 150 W. Jefferson Avenue, #2500,

· · · · · Detroit, Michigan

· · · · · Commencing at 9:10 a.m.,

· · · · · Monday, September 9, 2024,

· · · · · Before Jenifer Weisman, CSR-6006.

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·1· ·A.· ·Right.· Vehicles get taken out of service, get

·2· · · · replaced with new vehicles, so the coverage increases.

·3· ·Q.· ·I think you had a slide here on how it works and you

·4· · · · talked about before, so can you refresh again since we

·5· · · · have some pictures on how to describe it?

·6· ·A.· ·Okay.· So we support basically two use cases.· There's

·7· · · · the case where the vehicle is intact and we can

·8· · · · retrieve by connecting to the on-board diagnostic

·9· · · · table.· It's earlier in the -- prior to OBD, they

10· · · · called it DLC, data link connector, and that's the

11· · · · main connector that you plug in your scan tools.

12· · · · · · · · · ·So the CDR tool would support the read-out

13· · · · for the majority of the vehicles through the OBD

14· · · · connector.· In the case of an event where the crash is

15· · · · bad enough where, you know, there's no more electrical

16· · · · connections, we have to connect directly to a module,

17· · · · and that's called a direct-to-module connection;

18· · · · that's why we have all these cables and adaptors and

19· · · · such.

20· ·Q.· ·What is the output of the software, which is the next

21· · · · page?

22· ·A.· ·Okay.· Basically, it's a report.· The report is very

23· · · · specific to, you know -- it has to be printed.· So

24· · · · we've been producing CDR reports so they can fit on a

25· · · · letter size paper; that's one of the main


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·1· ·A.· ·I wouldn't want to say something incorrect either.

·2· ·Q.· ·I understand.· I just wanted to clear that up.

·3· · · · · · · · · ·CSI was founded in 2015, is that right?

·4· ·A.· ·Yes.

·5· ·Q.· ·Explain the motivation for creating the company.

·6· ·A.· ·So motivation for starting the company, having

·7· · · · experience in the accident reconstruction field, I

·8· · · · wanted to, you know, create greater access to very

·9· · · · crucial data.· There are millions and millions of car

10· · · · accidents every single year and each accident produces

11· · · · -- each vehicle will store crucial evidence on the

12· · · · vehicle, and it's very difficult data to get to

13· · · · logistically, very expensive; insurance companies

14· · · · weren't using it very often, so just the world and

15· · · · industry needed better access to this information, so

16· · · · I wanted to provide tools in reporting that could pave

17· · · · access for literally anyone globally.· If you're in a

18· · · · car accident and you need evidence, that you can get

19· · · · to that evidence affordably.

20· · · · · · · · · ·Somewhat altruistic, I've even given our

21· · · · reports away for free to people who just can't afford

22· · · · it.· So really, the purpose was to provide access to

23· · · · crash data, and then also provide assistance in

24· · · · understanding that data better.

25· ·Q.· ·And in your understanding, was that -- it sounds like


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·1· · · · can read through the report carefully and really pull

·2· · · · apart the evidence, and it allows them to understand.

·3· · · · · · · · · ·So if there's no crash data, they can read

·4· · · · on and they can read on to different sections.· So I

·5· · · · mentioned a lot of the sections already:· vehicle

·6· · · · specifications, safety research, recalls, diagnostic

·7· · · · data, and then there are injury risk sections whether

·8· · · · or not there's crash data stored or not.

·9· ·Q.· ·CSI's business model is based on selling per report,

10· · · · right, selling the reports?

11· ·A.· ·Yes, we sell per report.· However, that's the only way

12· · · · we charge a client and we include all consulting

13· · · · within that fee, and we get a lot of phone calls, we

14· · · · get e-mails, and we'll respond to those e-mails; we

15· · · · include technical support, so it's really a holistic

16· · · · pricing model, but we do a lot of consulting within

17· · · · that pricing model.

18· ·Q.· ·Do you charge customers for any hardware?

19· ·A.· ·Yes.

20· ·Q.· ·Explain that.

21· ·A.· ·We do have a third-party company that builds hardware,

22· · · · the Bluetooth adapter, and we have a little kit with

23· · · · an extension cable; we charge $200 for that.· That

24· · · · will include shipping; we'll get it to anyone in two

25· · · · days.


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·1· · · · perspective, I think that there's several types of

·2· · · · users in the industry.· So Bosch's main users are law

·3· · · · enforcement and accident reconstructionists, but our

·4· · · · main users are from an insurance focus, and a lot of

·5· · · · them just need to get a very quick look at a few data

·6· · · · points to understand whether -- how to manage a claim

·7· · · · and maybe triage it and whether to take it further,

·8· · · · and quite often, they will refer it to an accident

·9· · · · reconstructionist, and then that person will go out

10· · · · and use the Bosch tool.· So it really -- I think in

11· · · · some ways it's help -- our tool is helping the

12· · · · industry, because without it, certain accident

13· · · · reconstructionists wouldn't even get referred certain

14· · · · work.· So we're like increasing the work available for

15· · · · crash reconstruction in the industry.

16· ·Q.· ·Do you remember seeing the e-mails about when you

17· · · · approached Bosch for the Invent with Bosch program?

18· ·A.· ·Yes.

19· ·Q.· ·I won't pull them out, but you remember talking about

20· · · · that generally?

21· ·A.· ·Yes.

22· ·Q.· ·What were you hoping to accomplish when you approached

23· · · · Bosch?

24· ·A.· ·I was hoping for a collaboration to work together.

25· · · · They had established OEM relationships and I had


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